Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 1 of 20 PageID #: 8
Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 2 of 20 PageID #: 9
                                                                                                 Electronically Filed - Jefferson - October 26, 2022 - 11:03 AM
Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 3 of 20 PageID #: 10
                                                                       22JE-CC00858

              IN THE CIRCUIT COURT OF JEFFERSON COUNTY,
                        MISSOURI AT HILLSBORO


  TRICIA DANE,                                    )
                                                  )   Case No.
                                 Plaintiff,       )   Division
  v.                                              )
                                                  )
  MERCY JEFFERSON,                                )   JURY TRIAL
  DEMANDED
                                                  )
                                                  )
                                 Defendant.       )



                           PETITION FOR DAMAGES

                COMES NOW Plaintiff, Tricia Dane (“Plaintiff”), by and through the

  undersigned counsel and states and alleges as follows for her Petition for Damages

  against Defendant Mercy Jefferson (“Mercy”).

                                   INTRODUCTION

         1.     In violation of the Missouri Human Rights Act (“MHRA”), Plaintiff, while

  an employee of Defendant, Mercy, was subjected to unlawful discrimination based on

  her religious beliefs, and in retaliation for engaging in protected activity and otherwise

  exercising her legal rights.

         2.     Plaintiff seeks compensatory and punitive damages against Mercy.

                                         PARTIES

         3.     Plaintiff is and was at all times relevant to the allegations contained herein

  a Missouri resident.

         4.     Defendant Mercy is and was at all times relevant to the allegations

  contained herein, a Missouri “employer” as that term is defined in the Missouri Human

  Rights Act.                                 1
                                                                                                          Electronically Filed - Jefferson - October 26, 2022 - 11:03 AM
Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 4 of 20 PageID #: 11


         5.     At all times relevant herein, before and after, the individual actors named

  herein, including but not limited to Plaintiff’s supervisors and management-level

  employees of Defendant, were agents, servants, and employees of Defendant and were

  at all times acting within the scope and course of their agency and employment, or their

  actions were expressly authorized and ratified by Defendant. Therefore, Defendant is

  liable for the actions of said persons under all theories pled herein.

                                JURISDICTION AND VENUE

         6.     The discriminatory conduct alleged herein occurred in Jefferson

  County, Missouri giving this Court jurisdiction over the claims and making this Court

  the appropriate forum.

                                 CONDITIONS PRECEDENT

         7.     Plaintiff timely filed her first Charge of Discrimination with the Missouri

  Commission on Human Rights and the Equal Employment Opportunity Commission on

  or about November, 2021, alleging discrimination on the basis of religion and

  retaliation against Defendant. A copy of the charge is attached hereto as Exhibit A

  and incorporated herein by reference.

         8.     The E q u a l E m p l o y m e n t O p p o r t u n i t y C o m m i s s i o n “ E E O C ”

  issued Plaintiff a Notice of Right to Sue with respect to her first Charge of

  Discrimination on July 27, 2022. A copy of the Notice of Right to Sue is attached hereto

  as Exhibit B and incorporated herein by reference.

         9.     This action has been timely filed with this Court and Plaintiff has met all

  conditions precedent to filing this action.

                                      FACTUAL ALLEGATIONS

         10.    Plaintiff has worked for Mercy since March 8, 2021. Her last position was

  Registered Nurse.
                                              2
                                                                                                    Electronically Filed - Jefferson - October 26, 2022 - 11:03 AM
Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 5 of 20 PageID #: 12


         11.    On or about July 7, 2021, Plaintiff was notified by Mercy that she would

  need to be vaccinated with the experimental Covid-19 vaccine by September 30, 2021.

         12.    Plaintiff submitted a request for religious exemption to the Covid-19

  vaccine based on a sincerely held religious belief in July, 2021.

         13.    Plaintiff’s request for a religious exemption was denied on August 2, 2021.

         14.    Plaintiff filed an appeal of the religious exemption denial on August 2, 2021

  with additional information regarding her deeply held religious beliefs.

         15.    Plaintiff received a second religious exemption denial on August 20, 2021

  and was told if she did not get vaccinated she would be placed on unpaid administrative

  leave on September 30, 2021.

         16.    Plaintiff was placed on administrative leave on September 30, 2021.

         17.    On or about October 30, 2021, Plaintiff was terminated by Mercy for failing

  to be vaccinated.

         18.    Plaintiff was denied an opportunity to discuss alternatives or to have a

  collaborative discussion (as required under the law) regarding accommodations.

         19.    Plaintiff believes others were also terminated rather than accommodated

  due to religious or medical exemptions.

         20.    In addition to discrimination on the basis of her religion, Plaintiff has

  further experienced retaliation.

         21.    Plaintiff believes s he was t e r m i n a t e d in retaliation for her complaints

  of discrimination and speaking out against the COVID vaccination policy.

         22.    As a result of the discrimination and retaliation to which Defendant has

  subjected Plaintiff, Plaintiff has suffered and continues to suffer damages, including but

  not limited to lost wages, lost benefits, lost bonus payments, loss of earning capacity, loss

  of career opportunity, costs of seeking alternate income, pain and suffering, emotional
                                           3
                                                                                                  Electronically Filed - Jefferson - October 26, 2022 - 11:03 AM
Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 6 of 20 PageID #: 13


  distress, humiliation, upset, damage to her reputation, deprivation of civil rights, and in

  other respects.

                                          COUNT I
                                 Religious Discrimination
                         (Pursuant to the MHRA, Section 213.010, et
                                            seq.)

         23.    Plaintiff incorporates by reference all other paragraphs in this Petition as

  though fully stated here.

         24.    Defendant intentionally discriminated against Plaintiff on the basis of her

  religion in the terms, conditions, and/or privileges of her employment, in ways including

  but not limited to terminating her employment.

         25.    Plaintiff’s religion was a contributing factor in Defendant’s unfair and

  discriminatory treatment of Plaintiff in the terms, conditions, and/or privileges of her

  employment.

         26.    Defendant failed to make good-faith efforts to enforce policies to prevent

  discrimination against its employees, including Plaintiff.

         27.    As a direct and proximate result of Defendant’s illegal discriminatory

  actions, Plaintiff has suffered actual damages in the form of lost wages, lost benefits, loss

  of bonus payment, loss of earning capacity, loss of career opportunity, costs of seeking

  alternate income, pain and suffering, emotional distress, humiliation, upset, damage to

  her reputation, diminished job opportunities, deprivation of civil rights, and in other

  respects, all in an amount yet to be determined.

         28.    Defendant’s conduct was willful, wanton and malicious, and showed

  complete indifference to or conscious disregard of the rights of Plaintiff under the

  MHRA, thus justifying an award of punitive damages in an amount sufficient to punish

  Defendant and to deter it and others from like conduct.

         WHEREFORE, Plaintiff prays for judgment in her favor and against Defendant,
                                      4
                                                                                                  Electronically Filed - Jefferson - October 26, 2022 - 11:03 AM
Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 7 of 20 PageID #: 14


         for compensatory damages, including but not limited to her lost wages and

         benefits, lost bonus payments, damages for emotional pain and suffering,

         inconvenience, mental anguish, loss of enjoyment of life, harm to reputation,

         loss of self-esteem, humiliation and other nonpecuniary losses, damages for

         future loss of wages and benefits, punitive damages, all costs including reasonable

         attorneys’ fees, equitable relief as appropriate, and any such other relief as the

         Court deems just and proper.

                                         COUNT II
                                         Retaliation
                         (Pursuant to the MHRA, Section 213.010, et
                                            seq.)

         29.    Plaintiff incorporates by reference all other paragraphs in this Petition as

  though fully stated here.

         30.    Plaintiff had a good-faith, reasonable belief that Defendant was engaging

  in unlawful employment practices, including violations of laws prohibiting religious

  discrimination.

         31.    Defendant retaliated against Plaintiff because of her opposition to its

  unlawful employment practices in the terms, conditions, and/or privileges of

         32.    her employment, including but not limited to, by failing to take prompt

  and appropriate corrective actions to remedy its conduct that Plaintiff reported was

  unlawful, subjecting Plaintiff to unwarranted criticism and hostility, and terminating her

  employment.

         33.    Plaintiff’s opposition to Defendant’s unlawful employment practices was a

  contributing factor in its decision to retaliate against her in the terms, conditions, and/or

  privileges of her employment.

         34.    Defendant failed to make good-faith efforts to enforce policies to prevent

  retaliation against its employees, including Plaintiff.
                                           5
                                                                                               Electronically Filed - Jefferson - October 26, 2022 - 11:03 AM
Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 8 of 20 PageID #: 15


         35.    As a direct and proximate result of Defendant’s continuing pattern and

  practice of illegal retaliation directed toward her and/or disparate treatment of her, and

  of Defendant’s termination of her employment, Plaintiff has suffered actual damages in

  the form of lost wages, lost bonus payments, lost benefits, loss of earning capacity, loss

  of career opportunity, costs of seeking alternate income, pain and suffering, emotional

  distress, humiliation, upset, damage to her reputation, diminished job opportunities,

  deprivation of civil rights, and in other respects, all in an amount yet to be determined.

         36.    Defendant’s retaliatory conduct was willful, wanton and malicious, and

  showed complete indifference to or conscious disregard of the rights of Plaintiff, thus

  justifying an award of punitive damages in an amount sufficient to punish Defendant

  and to deter it and others from like conduct in the future.

                WHEREFORE, Plaintiff prays for judgment in her favor and against

  Defendant, for compensatory damages, including but not limited to her lost wages and

  benefits, lost bonus payments, with interest through the date of trial, damages for

  emotional pain and suffering, inconvenience, mental anguish, loss of enjoyment of life,

  harm to reputation, loss of self- esteem, humiliation and other nonpecuniary losses,

  damages for future loss of wages and benefits, punitive damages, all costs including

  reasonable attorneys’ fees, equitable relief as appropriate, including but not limited to

  reinstatement and an injunction restraining Defendant from future discriminatory

  actions, and any such other relief as the Court deems just and proper.

                                       COUNT III
                      Failure to Accommodate/Engage in Interactive
                                        Process
                      Pursuant to the MHRA, Section 213.010, et seq.)

         37.    Plaintiff incorporates by reference all other paragraphs in this Petition as

  though fully stated here.

         38.    MHRA prohibits Mercy from discriminating against employees based on
                                       6
                                                                                              Electronically Filed - Jefferson - October 26, 2022 - 11:03 AM
Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 9 of 20 PageID #: 16


  their religious beliefs.

         39.     With regards to Plaintiff’s request for accommodations and religious

  exemption, no justification was provided beyond Mercy’s denial of the exemption

  request and the demand to comply with the vaccination policy by the deadline.

         40.     Before rejecting Plaintiff’s requests for a religious exemption, Mercy was

  required to analyze the potential available accommodations. Because no alternative

  accommodations were considered, Mercy violated the Plaintiffs request in error.

         WHEREFORE, Plaintiff prays for judgment in her favor and against Defendant,

  for compensatory damages, including but not limited to her lost wages and benefits, lost

  bonus payments, with interest through the date of trial, damages for emotional pain and

  suffering, inconvenience, mental anguish, loss of enjoyment of life, harm to reputation,

  loss of self- esteem, humiliation and other nonpecuniary losses, damages for future loss

  of wages and benefits, punitive damages, all costs including reasonable attorneys’ fees,

  equitable relief as appropriate, including but not limited to reinstatement and an

  injunction restraining Defendant from future discriminatory actions, and any such

  other relief as the Court deems just and proper.


                                      JURY DEMAND

         Plaintiff demands a trial by jury in the Circuit Court of Jefferson County,

  Missouri, on all counts and allegations in this Petition.




                                                By: /s/ Kristine Shilt
                                                   Kristine Shilt, MO Bar #46060
                                                   9519 Windor Drive
                                                   Lees Summit, MO 64086
                                                   Telephone: 816-935-6911
                                                   Email: kshilt@renz-law.com

                                                     ATTORNEY FOR PLAINTIFF
                                           7
v-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 10 of 20
v-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 11 of 20
              Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 12 of 20 PageID #: 19

                                                             NOTICE OF ENTRY
                                                         (SUPREME COURT RULE 74.03)

                                 In The 23rd Judicial Circuit Court, Jefferson County, Missouri
                                       P O BOX 100, 300 MAIN ST, HILLSBORO, MISSOURI 63050
TRICIA DANE V MERCY JEFFERSON                                                                                        CASE NO : 22JE-CC00858



To:    JEFFERSON COUNTY CHILDREN'S DIVISION
       10325 BUS RT 21
       STE 200
       HILLSBORO MO 63050




YOU ARE HEREBY NOTIFIED that the court duly entered the following:
Filing Date        Description
08-Feb-2023        Judge Assigned
                   WILL BE NOTIFIED BY DIVISION CLERK OF NEW COURT DATE

10-Feb-2023        Case Mgmt Conf Scheduled
                   SETTING OR DISMISSAL ALL PARTIES MUST APPEAR IN PERSON
                   Scheduled For: 15-Mar-2023 1:00 PM; SHANNON RENEE DOUGHERTY; Division 6 Courtroom; Jefferson
                   SETTING OR DISMISSAL ALL PARTIES MUST APPEAR IN PERSON
                   Event Location:     P O Box 100,300 Main St,Hillsboro, Mo




                                                                                                         Clerk of Court

CC:            JEFFERSON COUNTY CHILDREN'S DIVISION
               MERCY JEFFERSON HOSPITAL-1400 US 61
               TRICIA DANE
ECC:           KRISTINE DEANN SHILT
Date Printed : 15-Feb-2023




                                 For additional information on your case, please check Case.Net at www.courts.mo.gov/casenet
                                                                              V17.1
              Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 13 of 20 PageID #: 20

                                                             NOTICE OF ENTRY
                                                         (SUPREME COURT RULE 74.03)

                                 In The 23rd Judicial Circuit Court, Jefferson County, Missouri
                                       P O BOX 100, 300 MAIN ST, HILLSBORO, MISSOURI 63050
TRICIA DANE V MERCY JEFFERSON                                                                                        CASE NO : 22JE-CC00858



To:    MERCY JEFFERSON HOSPITAL-1400 US 61
       1400 US HIGHWAY 61
       FESTUS MO 63028




YOU ARE HEREBY NOTIFIED that the court duly entered the following:
Filing Date        Description
08-Feb-2023        Judge Assigned
                   WILL BE NOTIFIED BY DIVISION CLERK OF NEW COURT DATE

10-Feb-2023        Case Mgmt Conf Scheduled
                   SETTING OR DISMISSAL ALL PARTIES MUST APPEAR IN PERSON
                   Scheduled For: 15-Mar-2023 1:00 PM; SHANNON RENEE DOUGHERTY; Division 6 Courtroom; Jefferson
                   SETTING OR DISMISSAL ALL PARTIES MUST APPEAR IN PERSON
                   Event Location:     P O Box 100,300 Main St,Hillsboro, Mo




                                                                                                         Clerk of Court

CC:            JEFFERSON COUNTY CHILDREN'S DIVISION
               MERCY JEFFERSON HOSPITAL-1400 US 61
               TRICIA DANE
ECC:           KRISTINE DEANN SHILT
Date Printed : 15-Feb-2023




                                 For additional information on your case, please check Case.Net at www.courts.mo.gov/casenet
                                                                              V17.1
              Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 14 of 20 PageID #: 21

                                                             NOTICE OF ENTRY
                                                         (SUPREME COURT RULE 74.03)

                                 In The 23rd Judicial Circuit Court, Jefferson County, Missouri
                                       P O BOX 100, 300 MAIN ST, HILLSBORO, MISSOURI 63050
TRICIA DANE V MERCY JEFFERSON                                                                                        CASE NO : 22JE-CC00858



To:    TRICIA DANE
       5310 CAMP CREEK CT
       FARMINGTON MO 63640




YOU ARE HEREBY NOTIFIED that the court duly entered the following:
Filing Date        Description
08-Feb-2023        Judge Assigned
                   WILL BE NOTIFIED BY DIVISION CLERK OF NEW COURT DATE

10-Feb-2023        Case Mgmt Conf Scheduled
                   SETTING OR DISMISSAL ALL PARTIES MUST APPEAR IN PERSON
                   Scheduled For: 15-Mar-2023 1:00 PM; SHANNON RENEE DOUGHERTY; Division 6 Courtroom; Jefferson
                   SETTING OR DISMISSAL ALL PARTIES MUST APPEAR IN PERSON
                   Event Location:     P O Box 100,300 Main St,Hillsboro, Mo




                                                                                                         Clerk of Court

CC:            JEFFERSON COUNTY CHILDREN'S DIVISION
               MERCY JEFFERSON HOSPITAL-1400 US 61
               TRICIA DANE
ECC:           KRISTINE DEANN SHILT
Date Printed : 15-Feb-2023




                                 For additional information on your case, please check Case.Net at www.courts.mo.gov/casenet
                                                                              V17.1
           Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 15 of 20 PageID #: 22

           IN THE 23RD JUDICIAL CIRCUIT, JEFFERSON COUNTY, MISSOURI

Judge or Division:                                           Case Number: 22JE-CC00858
SHANNON RENEE DOUGHERTY
Plaintiff/Petitioner:                                        Plaintiff’s/Petitioner’s Attorney/Address
TRICIA DANE                                                  KRISTINE DEANN SHILT
                                                             9519 WINDSOR DRIVE
                                  vs.                        LEES SUMMIT, MO 64086
Defendant/Respondent:                                        Court Address:
MERCY JEFFERSON HOSPITAL-1400 US 61                          P O BOX 100
Nature of Suit:                                              300 MAIN ST
CC Employmnt Discrmntn 213.111                               HILLSBORO, MO 63050
                                                                                                                              (Date File Stamp)

                                                        Summons in Civil Case
  The State of Missouri to: MERCY JEFFERSON HOSPITAL-1400 US 61
                            Alias:
 1400 US HIGHWAY 61
 FESTUS, MO 63028

       COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
                                    copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                    plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                    exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                    be taken against you for the relief demanded in the petition.

    JEFFERSON COUNTY
                                                                                          MICHAEL E. REUTER, CIRCUIT CLERK
                                                  March 8, 2023                           BY: /s/ A.FRIERDICH, DEPUTY CLERK
                                                      Date                                                      Clerk
                                   Further Information:
                                                         Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above Summons by: (check one)
         delivering a copy of the summons and petition to the defendant/respondent.
         leaving a copy of the summons and petition at the dwelling house or usual place of abode of the defendant/respondent with
           _________________________________________________, a person at least 18 years of age residing therein.
         (for service on a corporation) delivering a copy of the summons and petition to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ________________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                           _________________________________________________
                    Printed Name of Sheriff or Server                                                Signature of Sheriff or Server
                                 Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                  My commission expires: __________________                ________________________________________
                                                                     Date                                        Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and petition must be served on each defendant/respondent. For methods of service on all classes of suits,
  see Supreme Court Rule 54.




SJRC (07-21) SM30 (SMCC) For Court Use Only: Document ID # 23-SMCC-412        1 of 1 (22JE-CC00858)    Civil Procedure Form No. 1, SCR 54.01 – 54.05,
                                                                                              54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                                                                                               Electronically Filed - Jefferson - March 08, 2023 - 12:46 PM
   Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 16 of 20 PageID #: 23




                         IN THE CIRCUIT COURT OF JEFFERSON
                           COUNTY, MISSOURI AT HILLSBORO


             TRICIA DANE,                             )
                                                      )      Case No. 22JE-CC00858
                                        Plaintiff,    )      Division
             v.                                       )
                                                      )
             MERCY HOSPITAL JEFFERSON,                )
                                                      )
                                                      )
                                        Defendant.    )



                           MOTION TO REISSUE SUMMONS

                    COMES NOW, Kristine Shilt as attorney for Plaintiff Tricia Dane and

requests the court to reissue the summons in this case due to inaccurate contact and address

information included in Missouri Casenet. The contact information has been resolved in the

court system and we respectfully request an updated summons be issued.




                                                          By: /s/ Kristine Shilt

                                                             Kristine Shilt, MO Bar #46060
                                                             9519 Windor Drive
                                                             Lees Summit, MO 64086
                                                             Telephone: 816-935-6911
                                                             Email: kshilt@renz-law.com

                                                             ATTORNEY FOR PLAINTIFF




                                              1
                                                                                           Electronically Filed - Jefferson - March 13, 2023 - 04:28 PM
Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 17 of 20 PageID #: 24




            IN THE CIRCUIT COURT OF JEFFERSON COUNTY,
                      MISSOURI AT HILLSBORO


   TRICIA DANE,                               )
                                              )      Case No. 22JE-CC00858
                             Plaintiff,       )      Division 6
   v.                                         )
                                              )
   MERCY JEFFERSON,                           )
                                              )
                                              )
                             Defendant.       )



                        REQUEST FOR CONTINUANCE
         COMES NOW, Kristine Shilt representing the Plaintiff Tricia Dane and requests a

   continuance of the case management conference on March 15, 2023. Due to inaccurate

   contact information within Casenet, Counsel was not receiving notifications from the

   court. The notification has since been resolved and a new summons was issued with the

   updated information. Additional time is needed to allow time to serve the updated

   summons.



                                                  By: /s/ Kristine Shilt
                                                     Kristine Shilt, MO Bar #46060
                                                     9519 Windor Drive
                                                     Lees Summit, MO 64086
                                                     Telephone: 816-935-6911
                                                     Email: kshilt@renz-law.com

                                                     ATTORNEY FOR PLAINTIFF




                                          1
              Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 18 of 20 PageID #: 25

                                                             NOTICE OF ENTRY
                                                         (SUPREME COURT RULE 74.03)

                                 In The 23rd Judicial Circuit Court, Jefferson County, Missouri
                                       P O BOX 100, 300 MAIN ST, HILLSBORO, MISSOURI 63050
TRICIA DANE V MERCY JEFFERSON                                                                                        CASE NO : 22JE-CC00858



To:    JEFFERSON COUNTY CHILDREN'S DIVISION
       10325 BUS RT 21
       STE 200
       HILLSBORO MO 63050




YOU ARE HEREBY NOTIFIED that the court duly entered the following:
Filing Date        Description
15-Mar-2023        Hearing Continued/Rescheduled
                   Continuance Reason - Request of Court; Continuance Requestor - Court
                   Hearing Continued From: 15-Mar-2023 1:00 PM
                   Event Location:     P O Box 100,300 Main St,Hillsboro, Mo

                   Case Mgmt Conf Scheduled
                   Scheduled For: 19-Jul-2023 10:30 AM; SHANNON RENEE DOUGHERTY; Division 6 Courtroom; Jefferson
                   Event Location:     P O Box 100,300 Main St,Hillsboro, Mo

                   Notice
                   TO ALL PRO SE PARTIES




                                                                                                         Clerk of Court

CC:            JEFFERSON COUNTY CHILDREN'S DIVISION
               MERCY JEFFERSON HOSPITAL-1400 US 61
ECC:           KRISTINE DEANN SHILT
Date Printed : 21-Mar-2023




                                 For additional information on your case, please check Case.Net at www.courts.mo.gov/casenet
                                                                              V17.1
              Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 19 of 20 PageID #: 26

                                                             NOTICE OF ENTRY
                                                         (SUPREME COURT RULE 74.03)

                                 In The 23rd Judicial Circuit Court, Jefferson County, Missouri
                                       P O BOX 100, 300 MAIN ST, HILLSBORO, MISSOURI 63050
TRICIA DANE V MERCY JEFFERSON                                                                                        CASE NO : 22JE-CC00858



To:    MERCY JEFFERSON HOSPITAL-1400 US 61
       1400 US HIGHWAY 61
       FESTUS MO 63028




YOU ARE HEREBY NOTIFIED that the court duly entered the following:
Filing Date        Description
15-Mar-2023        Hearing Continued/Rescheduled
                   Continuance Reason - Request of Court; Continuance Requestor - Court
                   Hearing Continued From: 15-Mar-2023 1:00 PM
                   Event Location:     P O Box 100,300 Main St,Hillsboro, Mo

                   Case Mgmt Conf Scheduled
                   Scheduled For: 19-Jul-2023 10:30 AM; SHANNON RENEE DOUGHERTY; Division 6 Courtroom; Jefferson
                   Event Location:     P O Box 100,300 Main St,Hillsboro, Mo

                   Notice
                   TO ALL PRO SE PARTIES




                                                                                                         Clerk of Court

CC:            JEFFERSON COUNTY CHILDREN'S DIVISION
               MERCY JEFFERSON HOSPITAL-1400 US 61
ECC:           KRISTINE DEANN SHILT
Date Printed : 21-Mar-2023




                                 For additional information on your case, please check Case.Net at www.courts.mo.gov/casenet
                                                                              V17.1
Case: 4:23-cv-00521-MTS Doc. #: 1-3 Filed: 04/24/23 Page: 20 of 20 PageID #: 27
